   Case 2:15-cv-00497-MHT-TFM Document 101 Filed 09/29/16 Page 1 of 4




 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

WEST ALABAMA WOMEN’S     )
CENTER, et al., on behalf)
of themselves and their  )
patients,                )
                         )
     Plaintiffs,         )
                         )
                         )                   CIVIL ACTION NO.
     v.                  )                     2:15cv497-MHT
                         )                         (WO)
DR. THOMAS M. MILLER, in )
his official capacity as )
State Health Officer,    )
et al.,                  )
                         )
     Defendants.         )


       JUDGMENT DISMISSING MEDICAL-RECORDS CLAIMS

    Upon consideration of the joint motion to enter a

stipulation      of    dismissal        of    plaintiffs’        claims

challenging    Ala.    Admin.    Code    r.   420-5-1-.03(6)(c)(4)

(the “medical-records requirement”) (doc. no. 88), it

is the ORDER, JUDGMENT, and DECREE of the court that:
      Case 2:15-cv-00497-MHT-TFM Document 101 Filed 09/29/16 Page 2 of 4




       (1) The motion is granted, as follows.

       (2) The parties’ stipulation and this order fully

resolve plaintiffs’ Count I and Count II of the First

Supplemental Complaint (doc. no. 50) challenging the

medical-records          requirement,        and     those      counts     are

dismissed,       except    to    the   extent       that    the   following

order is entered:

              (a) The     medical-records          requirement     of     Ala.

Admin. Code r. 420-5-1-.03(6)(c)(4) (doc. no. 50-1 at

ECF p. 13, effective June 2, 2016) (“The patient shall

receive a copy of her medical record that pertains to

the    current     abortion     procedure      prior       to   leaving    the

facility.”)       is    satisfied      through      the    procedures      set

forth in this order.

              (b) West Alabama Women’s Center, as well as any

abortion clinic availing itself of Ala. Admin. Code r.

420-5-1-.03(6)(c) (permitting compliance with the rule

if the clinic is unable to obtain a written contract

with     an    outside     covering        physician),      satisfies      the

                                       2
    Case 2:15-cv-00497-MHT-TFM Document 101 Filed 09/29/16 Page 3 of 4




medical-records        requirement        of        the   rule     by    (i)

presenting each patient with a “Notification Regarding

Medical Record” (doc. no. 88-1) and properly filling it

out, and (ii) presenting each patient who has requested

a   copy   of   her   medical     record       a    “Discharge     Summary”

(doc. no. 88-2).

           (c) The court retains jurisdiction over this

matter     to   ensure   the    parties’       compliance        with   this

order.

     (3) If      a    party      believes          that    the    parties’

settlement is being violated, said party may file an

appropriate motion regarding enforcement.

     (4) The parties are to arrange for an on-the-record

conference call for September 23, 2019, at 10:00 a.m.

to determine whether there is a continuing need for the

court to retain jurisdiction over this settlement.                        The

parties     shall     file    statements           of   their    respective

positions         five         days       before           said         call.



                                      3
Case 2:15-cv-00497-MHT-TFM Document 101 Filed 09/29/16 Page 4 of 4




 This case is not closed.

 DONE, this the 29th day of September, 2016.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
